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Exhibit B
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

In Re DMCA Subpoena to
Namecheap, Inc. Case No.

 

 

DECLARATION OF DAVID WESLOW

I, David Weslow, counsel of record for Fox News Network, LLC (“Fox News’) in
the above-reference matter, hereby declare as follows:

I, I am a partner at Wiley Rein LLP and licensed to practice law in the State
of Maryland and the District of Columbia.

2. I am authorized to act on behalf of Fox News.

3. I submit this declaration in support of Fox News’s request for issuance to
Namecheap, Inc. (“Namecheap”) of a subpoena pursuant to the Digital Millennium
Copyright Act (“DMCA”), 17 U.S.C. § 512(h) (the “Section 512(h) Subpoena”), to
identify Namecheap’s customer in relation to the Internet domain name PehalNews.in.

4. Pursuant to 17 U.S.C. § 512(c)(3)(A), Fox News submitted a notification
to Namecheap identifying the infringing content transmitted by the aforementioned user
and providing the information required by 17 U.S.C. § 512(c)(3)(A). A true and accurate
copy of the submitted notification is attached hereto as Attachment 1.

5. The purpose for which this Section 512(h) Subpoena is sought is to obtain
the identity of an alleged infringer or infringers and such information will only be used

for the purpose of protecting Fox News’s rights under title 17 of the United States Code.
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I declare under penalty of perjury that the foregoing is true and correct.

Executed on January 20, 2022.

Chen,

 

David Weslow
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Attachment 1
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&
David E. Weslow W { ey
202.719.7525
dweslow@wiley.law

Wiley Rein LLP

2050 M Street NVV

Washington, DC 20036
January 20,2022 Tel: 202.719.7000

BY EMAIL wiley.law
Namecheap, Inc.

4600 East Washington Street

Suite 305

Phoenix, AZ 85034

legal@namecheap.com; abuse@namecheap.com

Re: Notice of Copyright Infringement — PehalNews.in
Dear Sir or Madam:

We are counsel to FOX News Network LLC (“Fox News’). This letter is a notification and request
concerning the unauthorized use of Fox News's intellectual property being displayed by
PehalNews.in, for which Namecheap appears to be providing services.

Fox News and its related companies own all rights in the copyright protected content,
photographs, text, images, graphics, animations, and source code associated with Fox News
programming. Fox News is the owner of hundreds of copyrights registered through the United
States Copyright Office including, without limitation, copyright number TX0005647280.
Additionally, Fox News is the exclusive owner of the FOX NEWS and FOXNEWS.COM
trademarks, which are covered by numerous federal registrations including U.S. Federal
Trademark Registration Nos. 2469849, 2697433, 2697434, 2697436, 2708769, 5173077, and
5185099.

It has been brought to Fox News’s attention that the website located at PehalNews.in has been
making unauthorized use of Fox News's intellectual property. Specifically, the PehalNews.in site
contains articles and images that copy and replicate copyright protected content from the official
Fox News website.

Below, Fox News has identified a sampling of the many pages of content that have been directly
copied from Fox News by the PehalNews.in site or copied with only minor, insignificant edits that
do not change Fox News's copyright protected expressions.

 

 

 

 

 

 

 

 

Infringing URL Original URL
httos://www.pehalnews.in/kyrsten-sinemas- | https:/Awww.foxnews.com/us/kyrsten-sinema-
backing-of-filibuster-sparks-liberal-media- filibuster-liberal-media-meltdown-fox-news-first
meltdown/1540363/
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https://www.pehalnews.in/rooftop- https://www.foxnews.com/opinion/rooftop-
revelations-the-message-of-the-body-of- revelations-chicago-message-body-of-christ-
christ-overrides-tribalism/1540839/ tribalism
https://www.pehalnews.in/kyrsten-sinema- https://www.foxnews.com/politics/kyrsten-
a-traitor-to-john-lewis-for-supporting- sinema-traitor-john-lewis-filibuster-jamaal-

 

 

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youngkin-not-yet-in-office-unfairly-blamed- youngkin-blame-virginia-interstate-mess-fox-
for-virginia-interstate-mess/1512344/ news-first
https://www.pehalnews.in/americans- https://www.foxnews.com/politics/americans-
question-why-parents-labeled-domestic- question-why-parents-are-labeled-domestic-
terrorists-but-not-antifa-after-biden-admin- terrorists-but-not-antifa-after-biden-admin-
solicited-letter/1537684/ solicited-letter
https://www.pehalnews.in/georgia- https://www.foxnews.com/lifestyle/georgia-
quarterback-stetson-bennetts-words-to-live- | quarterback-stetson-bennetts-words-to-live-by-
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qurdon-even-homer-gets-mobbed-a-mass- massachusetts-school-odessey-meghan-cox-
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shows-off-beach-body-while-on-girls-trip- lee-beach-body-girls-trip-best-friend
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https://www.pehalnews.in/covid-victims- https://www.foxnews.com/opinion/covid-
who-died-in-ny-nursing-homes-deserve- victims-ny-nursing-home-justice-janice-dean
justice-i-wont-stop-fighting-for-

them/1512366/

 

 

 

 

We are formally notifying you of your customer's copyright infringing misconduct and requesting
that you disable hosting services in connection with the PehalNews.in domain name pursuant to
the Digital Millennium Copyright Act, 17 U.S.C. § 512. With express notice that a customer is
misusing your services to conduct activities in violation of the law, and presumably in violation of
your Terms of Service, we expect that you are able to make a reasonable determination to deny
further services for the PehalNews.in domain name.

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| have a good faith belief that use of the material in the manner complained of is not authorized
by the copyright owner, its agent, or the law. To the best of my knowledge, and under penalty of
perjury, the information contained in this letter is accurate and | am authorized to act on behalf of
Fox News, owner of the infringed exclusive rights described above.

If you have any questions concerning the foregoing, please do not hesitate to contact me.

Sincerely,

Creu _

David E. Weslow
Counsel for Fox News Network, LLC

4856-4802-9705.1

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